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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                                Plaintiff,      )
                                                )
v.                                              )       CASE NO. 08-CR-30099-MJR
                                                )
DALLAS D. HAWKINS,                              )
                                                )
                                Defendant.      )

             ORDER OF FINDING OF NO THIRD-PARTY INTERESTS

        On May 15, 2009, the Court entered a preliminary order for forfeiture (Doc. 109) against

defendant Dallas D. Hawkins for the following property which had been seized from the defendant:

        1)      One J. C. Higgins, Model 20, 12 gauge short-barreled shotgun with no
                serial number; and

        2)      One fully loaded, J. C. Higgins, Model 66, 12 gauge short-barreled
                shotgun with no serial number.

               Also included as property to be forfeited pursuant to this order is any and all
        ammunition which had been contained within or seized in conjunction with the
        firearm or firearms.

        The order further provided that the government would provide an opportunity for persons to

claim a legal interest in the property pursuant to 21 U.S.C. § 853(n)(1). The government now moves

that the Court enter an order finding no third-party interests (Doc. 162).

        The Court notes that notice was published by the government on an official government

website, http://www.forfeiture.gov, for 30 consecutive days beginning June 30, 2009, and ending

July 29, 2009, and that no third party filed a petition within 30 days after the last date of publication

to allege an interest in the property.

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       Consequently, the Court GRANTS the government’s motion (Doc. 162) and FINDS,

pursuant to 21 U.S.C. § 853(n)(7), that no third-party petitions were filed and that the United States

of America has clear title to the above-described property that is the subject of the Order of

Forfeiture filed on May 15, 2009, namely:

       1)      One J. C. Higgins, Model 20, 12 gauge short-barreled shotgun with no
               serial number;

       2)      One fully loaded, J. C. Higgins, Model 66, 12 gauge short-barreled
               shotgun with no serial number;

       3)      Any and all ammunition which had been contained within or seized in
               conjunction with said firearm or firearms.

       The Vault Custodian for the Bureau of Alcohol, Tobacco, Firearms and Explosives shall

dispose of the property according to law. The disposal may, at the discretion of the United States,

include the destruction of the property.


IT IS SO ORDERED.

DATE: June 4, 2010.

                                                      s/ Michael J. Reagan
                                                      MICHAEL J. REAGAN
                                                      United States District Judge




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